                         Case 2:24-cv-03309-SMM         Document 1     Filed 11/22/24   Page 1 of 41




                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
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                      CAMERON A. HAMRICK, SB #039293
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                    5 Telephone: 602.385.1040
                      Facsimile: 602.385.1051
                    6 Firm email: azdocketing@lewisbrisbois.com
                      Attorneys for Defendants
                    7
                    8                               UNITED STATES DISTRICT COURT
                    9                               DISTRICT OF ARIZONA, PHOENIX
                   10
                   11 Allen Scott and Erlinda Scott, husband and       Case No.
                      wife,
                   12                                                  (Yuma County Superior Court case no.
                                    Plaintiff,
                   13                                                  S1400CV202300382)
                             vs.
                   14                                                  NOTICE OF REMOVAL
                      Hefei Wanli Tire Co., Ltd., a Foreign joint
                   15 venture; Wanli Tire Corp., Ltd., a foreign
                      corporation Wanli Commercial Tire North          Judge:
                   16 America, Inc., a foreign company;
                      Guangzhou Industrial Investment Holding
                   17 Group., Ltd., a Foreign corporation: Hefei
                      JAC Automobile Co., Ltd., a foreign
                   18 corporation; South China Tire & Rubber
                      Company, Ltd., a foreign corporation;
                   19 DOES I through X, ABC
                      PARTNERSHIPS I through X, and
                   20 BLACK CORPORATIONS I through X,,,
                   21                  Defendant.
                   22
                   23            Pursuant to 28 U.S.C. §§ 1332, 1441, 1446 and Local Rule 3.6 (“L.R. Civ.”), Local
                   24 Rules of the United States District Court for the District of Arizona, Defendant Wanli Tire
                   25 Corp., Ltd., by and through undersigned counsel, hereby gives notice of the removal of the
                   26 above captioned case from the Superior Court of the State of Arizona, in and for the County
                   27 of Yuma, to the United States District Court for the District of Arizona, and in support

LEWIS              28 thereof respectfully asserts:
BRISBOIS
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                    1            1.    On November 6, 2023, Plaintiffs Allen and Erlinda Scott, filed the present
                    2 lawsuit in the Superior Court of the State of Arizona, in and for the County of Yuma, Case
                    3 No. S1400CV202300382. See Complaint, Summons, Demand for Jury Trial, and Certificate
                    4 of Compulsory Arbitration, attached as Exhibits “A,” “B,” “C,” and “D.”
                    5            2.    On October 22, 2024, Defendant was served a copy of the previously listed
                    6 exhibits.
                    7            3.    This court has original jurisdiction over “all civil actions where the matter in
                    8 controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
                    9 between . . . citizens of different states.” 28 U.S.C. § 1332.
                   10            4.    Plaintiffs were citizens of the State of Arizona at the time this action
                   11 commenced. See Exhibit “A” at ¶ 2.
                   12            5.    Defendant is a foreign corporation organized and existing under the laws of
                   13 China, with its principal place of business in Wanli, China.
                   14            6.    Pursuant to 28 U.S.C. § 1441 (b)(1), the citizenship of Defendants sued under
                   15 fictious names (Does I through X, ABC Partnerships I through X, and Black Corporations I
                   16 through X, etc) are disregarded.
                   17            7.    Accordingly, complete diversity exists under 28 U.S.C. § 1332(a)(1) because
                   18 this is a civil action between citizens of Arizona and a foreign corporation.
                   19            8.    The Complaint alleges that Defendant Wanli Tire Corp, Ltd. Is strictly liable
                   20 under a theory of products liability for selling a tire with a defective condition and when in
                   21 the scope of a foreseeable use by Plaintiffs caused their alleged injuries and damages. See
                   22 Exhibit “A” at ¶¶ 19-24.
                   23            9.    The Complaint further alleges that Defendant Wanli Tire Corp, Ltd. is liable
                   24 under a theory of negligence for the same conduct. See Exhibit “A” at ¶¶ 25-28.
                   25            10.   Pursuant to 27 U.S.C. § 1446(a), a notice of removal “need include only a
                   26 plausible allegation that the amount in controversy exceeds the jurisdictional threshold.”
                   27 Dart Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 89 (2014). Evidence to establish

LEWIS              28 the amount in controversy is required “only when the plaintiff contests, or the court
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                    1 questions, the defendant’s allegation.” Id.
                    2            11.   Plaintiffs claim that the damages at issue qualify this matter for Tier 3, which
                    3 means they seek damages exceeding $300,000. See Exhibit “A” at page 5 line 27; Arizona
                    4 Rules of Civil Procedure 26.2(c)(3).
                    5            12.   Because this is a civil action between parties with complete diversity of
                    6 citizenship and the amount in controversy, exclusive of interest and costs, exceeds the
                    7 jurisdictional minimum of $75,000, this Court has original subject matter jurisdiction
                    8 pursuant to 28 U.S.C. § 1332, and this action may be removed pursuant to 28 U.S.C. §
                    9 1441(a).
                   10            13.   This Notice of Removal is timely pursuant to 28 U.S.C. § 1446(b) because it
                   11 is being filed within thirty (30) days after receipt of the complaint by Defendant.
                   12            14.   Pursuant to L.R. Civ. 3.6(a), a copy of the most recent version of the docket
                   13 from the Yuma County Superior Court is attached as Exhibit “E.”
                   14            15.   Pursuant to 28 U.S.C. § 1446(a) and L.R. Civ. 3.6(b), undersigned counsel
                   15 certifies that exhibits “A” through “E” attached include true and complete copies of all
                   16 documents filed in the Superior Court of the State of Arizona, in and for the County of Yuma.
                   17 See Declaration of Matthew D. Kleifield, attached as Exhibit “F.”
                   18            16.   A Notification of Filing Notice of Removal in Federal Court in the form
                   19 attached as Exhibit “G” shall be filed in Superior Court of the State of Arizona, in and for
                   20 the County of Yuma, pursuant to 28 U.S.C. § 1446(d) and served upon counsel for Plaintiff.
                   21            WHEREFORE, Defendant requests that the above action now pending in the Yuma
                   22 County Superior Court be removed to this Court.
                   23
                   24            DATED this 22nd day of November, 2024
                   25
                   26
                   27

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                    1                                           LEWIS BRISBOIS BISGAARD & SMITH LLP
                    2
                    3
                                                                By:           /s/ Matthew D. Kleifield
                    4                                                         Matthew D. Kleifield
                    5                                                         Cameron A. Hamrick
                                                                              Attorneys for Defendants
                    6
                    7
                    8
                    9
                                                      CERTIFICATE OF SERVICE
                   10
                   11            I hereby certify that on November 22, 2024, I electronically transmitted the attached

                   12 document to the Clerk’s Office for filing using the CM/ECF System, including as to the
                   13
                        following parties.
                   14
                   15 Davis Miles
                      McGuire Gardner
                   16 40 E. Rio Salado Parkway Suite 425
                      Tempe, AZ 85281
                   17 Telephone: (480) 733-6800
                      Fax: (480) 733-3748
                   18 Efile.dockets@davismiles.com
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                   19 mmedina@davismiles.com
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                   20 sweinberger@davismiles.com
                      Taylor Calmelat, SBN 037217
                   21 tcalmelat@davismiles.com
                      Attorney for Plaintiffs
                   22
                   23 /s/ Thressa Brown
                   24
                   25
                   26
                   27

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               Exhibit A
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                Exhibit B
Case 2:24-cv-03309-SMM   Document 1   Filed 11/22/24   Page 13 of 41
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                Exhibit C
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                Exhibit D
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                Exhibit E
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                Exhibit F
                        Case 2:24-cv-03309-SMM          Document 1      Filed 11/22/24    Page 37 of 41




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                      CAMERON A. HAMRICK, SB #039293
                    3 Cameron.Hamrick@lewisbrisbois.com
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                    5 Telephone: 602.385.1040
                      Facsimile: 602.385.1051
                    6 Firm email: azdocketing@lewisbrisbois.com
                      Attorneys for Defendants
                    7
                    8                               UNITED STATES DISTRICT COURT
                    9                               DISTRICT OF ARIZONA, PHOENIX
                   10
                   11 Allen Scott and Erlinda Scott, husband and        Case No.
                      wife,
                   12                                                   DECLARATION OF COUNSEL IN
                                    Plaintiff,
                   13                                                   SUPPORT OF NOTICE OF
                             vs.                                        REMOVAL
                   14
                      Hefei Wanli Tire Co., Ltd., a Foreign joint       Judge:
                   15 venture; Wanli Tire Corp., Ltd., a foreign
                      corporation Wanli Commercial Tire North
                   16 America, Inc., a foreign company;
                      Guangzhou Industrial Investment Holding
                   17 Group., Ltd., a Foreign corporation: Hefei
                      JAC Automobile Co., Ltd., a foreign
                   18 corporation; South China Tire & Rubber
                      Company, Ltd., a foreign corporation;
                   19 DOES I through X, ABC
                      PARTNERSHIPS I through X, and
                   20 BLACK CORPORATIONS I through X,,,
                   21                  Defendant.
                   22
                   23            Pursuant to 28 U.S.C. § 1446(a) and L.R. Civ. 2.6(b), the undesigned Matthew D.
                   24 Kleifield, hereby declares as follows:
                   25            1.    I am counsel for Wanli Tire Co., Ltd. in this action.
                   26            2.    I have firsthand knowledge of the matters set forth herein.
                   27            3.    Exhibits A, B, C, D, E, F, & G to the Notice of Removal Constitute true and

LEWIS              28 correct copies of all the pleadings and other documents that have been filed in the state court
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                    1 proceeding.
                    2            I declare under penalty of perjury that the foregoing is true and correct to the best of
                    3 my knowledge.
                    4
                    5            DATED this 22nd day of November, 2024
                    6                                            LEWIS BRISBOIS BISGAARD & SMITH LLP
                    7
                    8
                                                                 By:          /s/ Matthew D. Kleifield
                    9                                                         Matthew D. Kleifield
                   10                                                         Cameron A. Hamrick
                                                                              Attorneys for Defendants
                   11
                   12
                   13
                   14
                                                       CERTIFICATE OF SERVICE
                   15
                   16            I hereby certify that on November 22, 2024, I electronically transmitted the attached

                   17 document to the Clerk’s Office for filing using the CM/ECF System, including as to the
                   18
                        following parties.
                   19
                      Davis Miles
                   20 McGuire Gardner
                      40 E. Rio Salado Parkway Suite 425
                   21 Tempe, AZ 85281
                      Telephone: (480) 733-6800
                   22 Fax: (480) 733-3748
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                   25 Taylor Calmelat, SBN 037217
                      tcalmelat@davismiles.com
                   26 Attorney for Plaintiffs
                   27
                        /s/ Thressa Brown
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& SMITH LLP
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                        149156917.1                                     2
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               Exhibit G
                        Case 2:24-cv-03309-SMM             Document 1   Filed 11/22/24   Page 40 of 41




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                    2   CAMERON A. HAMRICK, SB #039293
                        Cameron.Hamrick@lewisbrisbois.com
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                    5   Telephone: 602.385.1040
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                    6   Firm email: azdocketing@lewisbrisbois.com
                        Attorneys for Defendants
                    7
                    8                        SUPERIOR COURT OF THE STATE OF ARIZONA
                    9                                           COUNTY OF YUMA
                   10
                   11 ALLEN SCOTT and ERLINDA SCOTT,                    Case No. S1400CV202300382
                      husband and wife,
                   12                                                   NOTIFICATION OF NOTICE OF
                                    Plaintiff,
                   13                                                   REMOVAL
                             vs.
                   14                                                   Judge: Hon. Larry Kenworthy
                      Hefei Wanli Tire Co., Ltd., a Foreign joint
                   15 venture; Wanli Tire Corp., Ltd., a foreign
                      corporation Wanli Commercial Tire North
                   16 America, Inc., a foreign company;
                      Guangzhou Industrial Investment Holding
                   17 Group., Ltd., a Foreign corporation: Hefei
                      JAC Automobile Co., Ltd., a foreign
                   18 corporation; South China Tire & Rubber
                      Company, Ltd., a foreign corporation;
                   19 DOES I through X, ABC
                      PARTNERSHIPS I through X, and
                   20 BLACK CORPORATIONS I through X,,
                   21                   Defendant.
                   22
                   23 TO THE CLERK OF THE COURT, PLAINTIFFS AND THEIR ATTORNEYS OF
                   24 RECORD:
                   25            PLEASE TAKE NOTICE that on the 21st day of November 2024, Defendant Wanli
                   26 Tire Corp. Ltd filed its Notice of Removal in the United States District Court for the District
                   27 of Arizona for removal of this action to that court. A full and correct copy of said Notice of

LEWIS              28 Removal is attached as Exhibit 1.
BRISBOIS
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                        149153868.1
                        Case 2:24-cv-03309-SMM        Document 1    Filed 11/22/24    Page 41 of 41




                    1            DATED this 21st day of November, 2024
                    2                                         LEWIS BRISBOIS BISGAARD & SMITH LLP
                    3
                    4
                                                              By:        /s/ Matthew D. Kleifield
                    5                                                    Matthew D. Kleifield
                    6                                                    Cameron A. Hamrick
                                                                         Attorneys for Defendants
                    7
                    8 ORIGINAL of the foregoing e=filed
                      this 21st day of November, 2024 with:
                    9
                   10 Yuma County Superior Court
                   11
                      COPY of the foregoing emailed
                   12 this 21st day of November, 2024 to:
                   13
                        /s/ Thressa Brown
                   14
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& SMITH LLP
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